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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

DAVID TIMBERS                              *

       Plaintiff,                          *

v.                                         *              Civil No. 8:21-cv-00293-JKB

TELLIGENT MASONRY, LLC, et al.             *

       Defendants.                         *

*      *       *     *       *      *      *      *       *      *      *      *        *

                                          ORDER

       Upon consideration of Plaintiff David Timbers’ Motion for Leave of Court to File Second

Amended Complaint and Jury Demand (“the Motion”) (ECF No. 41) and Defendant Telligent

Masonry, LLC’s (“Telligent”) Opposition thereto and accompanying Memorandum in support

thereof (ECF No. ____), it is this ______ day of __________, 2022, hereby

       ORDERED, that the Motion is DENIED.




                                                          _________________________
                                                          The Honorable James K. Bredar
                                                          Chief Judge
